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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
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QUINTIN KEENE,
                                                                            DECLARATION OF ELLIOT
                                                            Plaintiff,      DOLBY SHIELDS

                              -against-

THE CITY OF ROCHESTER, a municipal entity, POLICE                           17-cv-6708 (MAT)
OFFICER MARIO MASIC, IBM # 1841, POLICE
OFFICER MARK J. LEMBKE, POLICE OFFICER JASON
PRINZI, POLICE OFFICER BRYAN A. BOSKAT,
POLICE OFFICER LUCAS C. BURRITT, POLICE
OFFICER DAVID T. SEITZ, POLICE OFFICER
PATRICK GIANCURSIO, POLICE OFFICER WILLIAM
WAGNER, POLICE OFFICER JOEL WITTMAN,
SERGEANT JAMES INGERICK, SERGEANT RIVERS,
and Police Officers “JOHN DOES 1-10” (names and number
of whom are unknown at present), and other unidentified
members of the Rochester Police Department,

                                                        Defendants.

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       ELLIOT DOLBY SHIELDS, hereby declares under penalty of perjury and
pursuant to 28 U.S.C. § 1746 that the following is true and correct:

        1.       I am associated with Roth & Roth, LLP, where I specialize in representing

plaintiffs in civil rights lawsuits, including excessive force cases.

        2.       I am the attorney of record for Plaintiff Quintin Keene herein, and as such,

I am fully familiar with the facts and circumstances of this action.

        3.       I give this declaration in Opposition to Defendant’s Partial Motion to

Dismiss Plaintiff’s First, Sixth and Seventh Claims for Relief in his First Amended

Complaint.
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       4.     Annexed hereto as Exhibit A is a copy of Barbara Lacker-Ware and

Theodore Forsyth, The Case for an Independent Police Accountability System:

Transforming the Civilian Review Process in Rochester, New York (2017).

       5.     Annexed hereto as Exhibit “B” is a copy of the complaint in Hunter v. City

of New York, 35 F.Supp.3d 310, 324-25 (E.D.N.Y. 2014).

       6.     Annexed hereto as Exhibit “C” is a copy of the complaint in Gonzalez v.

New York City, 2016 WL 7188147, at *8 (S.D.N.Y. Dec. 2, 2016).

       7.     Annexed hereto as Exhibit “D” is a copy of the complaint in Bektic–

Marrero v. Goldberg, 850 F.Supp.2d 418, 431 (S.D.N.Y. 2012).

       8.     Annexed hereto as Exhibit “E” is a copy of the complaint in Colon v. City

of New York et al., 2009 WL 4263362 (Nov. 25, 2009).

       9.     Annexed hereto as Exhibit “F” is a copy of the complaint in Osterhoudt v.

City of New York, 2012 WL 4481927 (Sept. 27, 2012).

       10.    Annexed hereto as Exhibit “G” is a copy of the complaint in Ferrari v.

County of Suffolk, 790 F.Supp.2d 34, 46 (E.D.N.Y.2011).

       11.    Annexed hereto as Exhibit “H” is a copy of the complaint in Reyes v. County

of Suffolk, 995 F.Supp.2d 215 (E.D.N.Y. Feb. 6., 2014).

       12.    Annexed hereto as Exhibit “I” is a copy of the complaint in Mateo v. County

of Suffolk, No. 12-CV-6160 DRH GRB, 2014 WL 5425536 (E.D.N.Y. Oct. 23, 2014).

       13.    Annexed hereto as Exhibit “J” is a copy of the complaint in Tyus v. Newton,

13-cv-1486 (SRU), 2015 WL 1471643, at *11 (D. Conn. Mar. 31, 2015).

       14.    Annexed hereto as Exhibit “K” is a copy of the complaint in Goode v.

Newton, 12-cv-754 (JBA), 2013 WL 1087549, at *6–8 (D. Conn. Mar. 14, 2013).
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         15.   Annexed hereto as Exhibit “L” is a copy of the complaint in Walker v. City

of New York, No. 12 Civ. 5902, 2014 U.S. Dist. LEXIS 42272 (S.D.N.Y. Mar. 18, 2014).

         16.   Annexed hereto as Exhibit “M” is a copy of the complaint in Tieman v. City

of Newburgh, o. 13-cv-4178 (KMK), 2015 WL 1379652, at *2 (S.D.N.Y. Mar. 26, 2015).

         17.   Annexed hereto as Exhibit “N” is a copy of the complaint in Collins v. City

of New York, 923 F. Supp. 2d 462, 479 (E.D.N.Y. 2013).

Dated: New York, New York
       February 5, 2018


                                             ROTH & ROTH LLP


                                     By:             ~/s/~___________
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